Case 0:19-cv-62743-RKA Document 11 Entered on FLSD Docket 12/03/2019 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-62743-CIV-ALTMAN/Hunt

  PATRICIA KENNEDY,

         Plaintiff,
  v.

  JNC HOSPITALITY, LLC,

        Defendant.
  ____________________________/
                                               ORDER

         THIS MATTER came before the Court at a Status Conference held on December 2, 2019.

  For the reasons stated in open court, and to better manage the orderly progress of this case, the

  Court hereby

         ORDERS AND ADJUDGES as follows:

         1. The parties shall, by December 10, 2019, engage in an informal settlement conference

             with one another. Counsel for all parties must confer in person or by telephone, and a

             representative with settlement authority for each party shall also attend or be available

             by telephone.

         2. In addition, by December 10, 2019, the parties shall file a Joint Notice of Compliance

             with this Order and briefly indicate the result of the settlement conference. If this case

             does not resolve by settlement by December 10, 2019, the Court will set this matter for

             an additional status conference to take place on December 17, 2019 at 9:30 AM.

         3. Within the next two business days, the Plaintiff is directed to serve a copy of this Order

             on any of the Defendants who have not yet appeared in this case.
Case 0:19-cv-62743-RKA Document 11 Entered on FLSD Docket 12/03/2019 Page 2 of 2



        DONE AND ORDERED in Fort Lauderdale, Florida this 2nd day of December 2019.




                                               _________________________________
                                               ROY K. ALTMAN
                                               UNITED STATES DISTRICT JUDGE
  cc:   counsel of record




                                           2
